Case 1:21-cv-05350-PKC-JAM               Document 483-1      Filed 10/15/24      Page 1 of 2 PageID
                                              #: 25520



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

  SECURITIES AND EXCHANGE COMMISSION,

                         Plaintiff,                          Case No.: 21-cv-5350 (PKC)(RER)

  v.

  RICHARD XIA, et al.,

                         Defendants,

  and

  JULIA YUE and XI VERFENSTEIN, et al.,

                         Relief Defendants.


                                 DECLARATION OF ADAM C. FORD
                             IN SUPPORT OF MOTION TO WITHDRAW

 Adam C. Ford, pursuant to 28 U.S.C. § 1746 declares as follows:

       1. I am a partner of Ford O’Brien Landy LLP.

       2. I submit this declaration in compliance with Local Civil Rule 1.4 in support of my motion

          to withdraw as counsel for Defendant Richard Xia due to failure to pay legal fees and

          irreconcilable differences.

       3. My withdrawal will not delay or prejudice this matter, as Mr. Xia has indicated his

          intention to proceed pro se.

       4. I am not asserting a retaining or charging lien.

       5. Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that a foregoing is true

          and correct.
Case 1:21-cv-05350-PKC-JAM   Document 483-1   Filed 10/15/24    Page 2 of 2 PageID
                                  #: 25521



 Dated: New York, New York
        October 15, 2024
                                         FORD O’BRIEN LANDY LLP
                                         /s/ Adam C. Ford
                                        Adam C. Ford
                                        275 Madison Avenue, 24th Floor
                                        New York, New York 10016
                                        Tel.: (212) 858-0040
                                        aford@fordobrien.com

                                         Attorney for Defendant Richard Xia
